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LAND- LAND ROVER ALEXANDRIA TF OATE INVOICE NO. STOCK NO,
-ROVER DUKE STREET * ALEXANDRIA, VA 22314 9a /11/2012 L3f4E abisa
OESCRIPTION SALE
CUSTOMER NUMBER 194563 DEAL NUMBER 33548 ane Gan 90568 .ao
sowro ANOREA LYNN MANAFORT mm) N/A
AINTLESS DENT 549.96
—_— AXTER ST —_ IRE AND WHEEL 1215.68
ORK NY 10013 N/A
= 6—6™hltC N/R
YEAR MAKE MODEL COLOR — VEHICLE IDENT. OR SERIAL NO. N/A
12 {AND ROVER RANGE RQVER NEW _
SALESMAAMANDA HAIGHT Ss RIVENTORY - NEW CARS
INSURANCE COVERAGE INCLUDES
FIRE & THEFT ((} © Pusuic UABILITY - AMT. USED CARS - RETAIL
»> Io GROUP DESCRIPTION PRICE USED TRUCKS - RETAR
P ¢ + WHOLESALE
a A
la R [saves tax 6661.74
: . LICENSE AND TITLE 846.60
' GROSS RECEIPTS LICENSE TAX a 185.42
E TOTAL CASH PRICE :
j U FINANCING N/A
i 7 INSURANCE N/A
Elu 2 TOTAL TIME PRICE 168625 .16
Ble E |DEPOsiT N/A
| * | |casH On DELIVERY N/A
i £| REBATE N/A
M
Ep pues. 16500. a6
MONTHS. DOLLARS
71183525.16 = Pen wonrs 83525.16
TOTAL 109825 .16
RAY Geeta Se
Pit
Car ere For
- NO LIABILITY INSURANCE INCLUDED
USED CAR TRADED Factory tbuthorized
| vean | MAKE MOOEL VEHICLE IDENT. OR SERIAL NO.
LAND ROVER RANGE ROVER Sowice

 

 

 

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i] Name: . manafort paul )
Location:
Original Source: Finance - Dealer.com Website
Created: 04/11/2012
Contact Me: via
Mobile Phone:
Home Phone: |
Work Phone:
Email: es ;
Additional Email: .
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f
Finance Lead |
Source: Finance - Oealer.Com Website
ne
IP: 24.249.249.
Subcategory: 04/11/2012
Share Public info:
| Applicant: Co-Applicant:
Name: manafort amanda pau! Name: ‘
Email Email:
Home Phone: ‘ Home Phone:
| Work Phone: Work Phone:
SSN, SSN:
| Date of Birth: Date of Bicth:
Bankruptcy: Bankrupicy-
Net Salary: $1,00 Net Salary:
Gross Salary: $0.00 Gross Salary:
Other Salary: $0.00 Other Salary:
| Child Support: Child Support: '
Child Support Monthly Payment: $0.00 - Child Support Monthly Payment:
| Current Residence Information: . Current Residence Information:
Address: J Mi Vernon Cir alexandria VA 22309 Address:
Type: own Type:
| Holder: Holder:
Time at Residence: 10 years, 0 months . Time at Residence:
Monthly Payment: $0.00 Monthly Payment:
Previous Residence Information: . . Provious Residence Information:
Address: . Address: .
Type: rent . Type:
Holder: . . Holler:
Time at Residence: Time at Residence:
| Monthly Payment: $0.00 . _ Monthly Payment:
1
Current Employment Information: Current Employment Information:
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Time Employed: 10 years. $ Time Employed:
Comments: ° ‘
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Name and address of Insured Effective Dato 4/11/12
Policy no. 11592937-10
PAUL J. MANAFORT, JR. ANO issued by Great Northam insurance Compeny
KATHLEEN B, MANAFORT @ stock Insurance company
IMOUNT VERNON CIRCLE Incorporated In Indiana
ALEXANDRIA, VA 22309-3218 Polley period 7/3/11 to 7/4/12

tf you have any questions, ploase contact
MOODY AND ASSOCIATES, INC.

= CENTURY BLVD. #425
.MD 20874 -

 

To our Valued Customer:

We ere pleasedto have the opportunityot providing your vehicieinsurance. We have attached your new vanicie
insurance!D card at the bottomot this letter. As roquiredby New York law, please keep this card in
the insures vehicle at all times.

The N.Y. State Departmentof Motor Vehiciesand the N.Y. State Insurence Departmentuse (he Insurance
Informationand EnforoementSysiom tw identity uninsuredmotorvehicies and eliminateinsurance!D card

fraud. Therefore, please make sure that the Informationon the ID card matches your New York MoterVahicie
registration exactly.

if you have any questionsor would ike to correctany Informationon your ID card, pleese contact your
egont or brokeral the tolephonenumberlisted above.

{n @ world of choices, thank you for insuring throughChubb.

Chubb & Son
Chubb Personal insurance

(BEPARATE CARD AT PERFORATION)

THIS ID CARD MUST BE CARRIED IN THE INSURED VEHICLE
FOR PRODUCTION UPON DEMAND

WARNING: Any person who lseues of produces an ID card knowingthat an Owner's Paticy
Of Insurance t2 not In effect may ba committing » misdemeanor. in addition, a person who
presents an 0 card It insurance is not in effect may be committing » misdemeanor.

The name of the registrant and the name of the ineured must coincide.

REPLACEMENT VEHICLE NOTATION: DMV WILL ONLY PROCESS A VEMECLE CHANGE
(RE-REGSTRATION) USING THE REPLACED VEHICLES CURRENT REGISTRATION,

OO THis - IN CASE OF ACCIDENT
1, C10P AD BVEATICNTE, PERSONA LUNCE Man, CONTACT
= SCO MERA AD F EF CESSART. ™ concn.
> 3 OBTAIN MAMES AMO ADCAEGors OF
4. REPORT ALL ACOIDENTS MMEOMATELY TO & 00 MOF ADT Laapniry,
yOu ARC ’

UNOEA 4 PATROL: OS0UCTION 1, ORSCLUIBS ACCIDENT OMY WITH POUCS OM
YOUR COMPANY HEPRESENTATWE.

IN CASE OF EMERGENC
CALL THIS '
1-400-252-4617;

URAOYGNVT SLFEb 90-90-2102

 

Reference Copy

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Customer information sheet. ZURICH
Customer name Tanta 7 -) Date:

(Review of purchase agreement/buyer's order )
1. How do you want your name(s) to appear on the title? Do you want the primary driver listed first?

Buyer No.1: ( (zmrttala_ Buyer No.2: ( ~)
2. We have your address as.....is that correct? A)
3. These are the figures we have agreed to....(state figures)
4. You're trading in a (state the year, make, and model). Do you owe money on your trade? (Yes © Nol )

~
5. Your vehicle comes with a manufacturer's limited warranty of (FJ years_)

This limited warranty covers defects in material and workmanship. Thereis no coverage for suck’items as oil change,
wiper blades, and batteries. These are considered to be normal maintenance. Also there is no coverage for tires and :
wheels if damaged by any kind of road hazard or your windshield if it is damaged by rocks or other types of debris. '

Environmental damage to paint, such as tree sap, bird waste and insects and, of course, physical damage such as dents or
dings is not covered by your manufacturer's warranty.

6. How many miles per year do you usually drive? ( _—" mils. )
How long do you usually keep vehicles for? ( ——~ years ) |

Are you planning to use your vehicle for business or pleasure? Business ©) Personal CO

If business, what type of use? (normal driving, delivery, livery, etc.) ( »

 

    

 

 

 

7. Dealership Survey Question: If the factory eliminated the limited warranty, how much would they need to reduce the

vehicle price in order to still earn your business? aD .

i

8. Will you be servicing your vehicle with us? :
If not, would you service it here if it were cost effective to a (es O No O)

9. Do you have financing arranged yet? (Yes © Ng if yes, where? ( a d y = ge )
Review of credit application \ of
Annual Income c& ‘+

11, Does this include any bonuse¥ or additipnasincome you may have? (Yes © No © )

12. Do you expect any raises or advancements?
\f yes, what is the amount? § Cis)

13. If the lender needs additional down payment, how much would you be able to come up with? sCssti—sisSYS

14, If your car were stolen or totaled and the insurance settlement didn't pay off your loan, how would you pay the

7 remaining balance due? ( ),

 

 

 

 

Your Employer is

 

 

W12880A M ©2012 Zurich American insurance Company

 

 

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